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 7
 8                             UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                    )    Case No.: 20-CR-1586-GPC
                                                  )
12                Plaintiff,                      )    UNITED STATES’ SENTENCING
                                                  )    SUMMARY CHART AND MOTION
13
           v.                                     )
                                                  )
                                                       FOR ACCEPTANCE OF RESPON-
14
     ASHLEY SUSAN MAHER,                          )    SIBILITY UNDER USSG § 3E1.1(b)
15                                                )
                  Defendant.                      )    Date: August 18, 2021
16                                                )    Time: 8:30 am
17                                                )

18
19         The United States submits its sentencing summary chart, which is based upon the
20   files and records of this case.
21
22   DATED: August 7, 2021                         Respectfully submitted,
23                                                 RANDY S. GROSSMAN
24                                                 Acting United States Attorney

25                                                 /s/ Patrick C. Swan
                                                   PATRICK C. SWAN
26                                                 Assistant United States Attorney
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                        UNITED STATES’ SENTENCING SUMMARY CHART AND MOTION
                        FOR ACCEPTANCE OF RESPONSIBILITY UNDER USSG § 3E1.1(b)
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                 SENTENCING SUMMARY CHART                                                               USPO [☐]
       [☒] AND UNITED STATES’ MOTION UNDER USSG § 3E1.1(b)                                              AUSA [☒]
                   Sentencing Date: August 18, 2021                                                      DEF [☐]
Defendant’s Name: Ashley Susan Maher                                    Docket No.: 20-CR-1586-GPC
Guideline Manual Used: November 1, 2018                                 Agree with USPO Calc.: Yes ☐ No ☒
Base Offense Level(s): 35.30 kilograms of Methamphetamine (actual) per lab report,
USSG § 2D1.1(c)(1)                                                                           38
Operation of USSG § 2D1.1(a)(5)(B)(iii) (due to Mitigating Role Adjustment)                   -4
Reduced Base Offense Level for Mitigating Role Adjustment, USSG § 2D1.1(a)(5)(B)(iii)        34
Specific Offense Characteristics:
Importation of Methamphetamine without Mitigating Role, USSG § 2D1.1(b)(5)                     0
Meeting the Criteria of Safety Valve, USSG § 2D1.1(b)(18)*                                     0
Victim Related Adjustment:
Adjustment for Role in the Offense:                                                           -2
Adjustment for Obstruction of Justice:
Adjustment for Reckless Endangerment During Flight:
Adjusted Offense Level:                                                                      32
☐ Combined (Mult. Counts) ☐ Career Off.          ☐Armed Career Crim.
Adjustment for Acceptance of Responsibility [☒ United States’ Motion – USSG § 3E1.1(b)]       -3
Total Offense Level:                                                                         29
Criminal History Score:                                                                        5
Criminal History Category:                                                                   III
             Career Offender           Armed Career Criminal
Guideline Range:                                                                from 108 mths
(Range limited by: _____ minimum mand. _____ statutory maximum)                 to    135 mths
Departures:
Fast Track, USSG § 5K3.1                                                                      -4
Adjusted Offense Level:                                                                      25
Resulting Guideline Range:                                                      from 70 mths
                                                                                to     87 mths
UNITED STATES’ RECOMMENDATION: Imprisonment for 46 months**; No Fine; $100
Special Assessment; and Three Years’ Supervised Release. Defendant is safety valve eligible
under the First Step Act and meets the requirements under 18 U.S.C. § 3553(f).
* Safety Valve under USSG § 5C1.2: Defendant is not eligible for this specific offense characteristic as she has
more than one criminal history point under the Sentencing Guidelines. See USSG § 5C1.2(a)(1).

** Minor Role: Defendant agreed to drive a car from Mexico into the United States in exchange for monetary gain.
She expected to be paid between $5,000 and $8,000. Despite the substantial quantity of drugs and degree to which
Defendant stood to benefit from the criminal activity, it does not appear that she understood the scope or structure of
the criminal activity, took efforts to plan, exercised decision-making authority, or had a proprietary interest.

*** Variance: Under the plea agreement, the United States recommends a downward variance under 18 U.S.C. §
3553 that is the equivalent of two levels under the Sentencing Guidelines due to the nature of this case and the
Temporary Plea Offer Program that was in effect until June 15, 2021. The United States also recommends a
downward variance under 18 U.S.C. § 3553 that is the equivalent of two levels under the Sentencing Guidelines as
Defendant qualifies for safety valve relief under 18 U.S.C. § 3553(f) as amended by the First Step Act. The USSG
Manual has not yet adopted the First Step Act; accordingly, the United States recommends safety valve relief as a
variance rather than a specific offense characteristic under the Sentencing Guidelines. [Approved/BCP]
